         Case 5:19-cv-01859-JFW-KS Document 4-2 Filed 10/01/19 Page 1 of 1 Page ID #:28
 NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) FOR, OR, PLAINTIFF OR
 DEFENDANT IF PLAINTIFF OR DEFENDANT IS PRO PER




 ATTORNEYS FOR:


                                                  UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                  CASE NUMBER:




                                                                   Plaintiff(s)
                                       v.
                                                                                     STATEMENT OF CONSENT TO PROCEED BEFORE A
                                                                                      UNITED STATES MAGISTRATE JUDGE PURSUANT
                                                                                                    TO TITLE 28 U.S.C. § 636(c)
                                                                   Defendant(s)        (For use in Report and Recommendation Cases Only)
                  THIS FORM SHALL BE USED ONLY IN CASES THAT HAVE BEEN ASSIGNED TO A DISTRICT JUDGE
                       AND REFERRED TO A MAGISTRATE JUDGE FOR A REPORT AND RECOMMENDATION.
                               (NOTE: PARTIES IN HABEAS CASES SHOULD USE FORM CV-11B)

I.        NOTICE REGARDING CONSENT TO A MAGISTRATE JUDGE PURSUANT TO LOCAL RULE 73-3

          1.         In accordance with the provisions of 28 U.S.C. § 636(c), all parties may consent to a Magistrate Judge to
                     conduct all further proceedings, including jury or non-jury trial (if applicable), and entry of final
                     Judgment, by executing and filing a joint (or separate) statement(s) of consent, setting forth such election.

          2.         Approval by the assigned District Judge is not required for cases referred to a Magistrate Judge for a
                     Report and Recommendation.

          3.         Parties are free to withhold consent to Magistrate Judge jurisdiction without adverse substantive
                     consequences.

          4.         If all parties consent to the jurisdiction of a Magistrate Judge, any appeal would be made directly to the
                     United States Court of Appeals.

II.       CONSENT TO A MAGISTRATE JUDGE

                     I voluntarily consent to have a United States Magistrate Judge conduct all further proceedings in this case,
                     including a trial (if applicable), and order the entry of final Judgment.

      Name of Counsel OR Party if Pro Se                                 Signature and date               Counsel for (Name Parties)




         STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE PURSUANT TO TITLE 28 U.S.C. § 636(c)
CV-11 (05/16)                           (For Use in Report and Recommendation Cases Only)
